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 1   RANDALL S. FARRIMOND (CSB #095281)                                  ** E-filed February 24, 2011 **
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 5
     Attorneys for Plaintiff
     BITTEL TECHNOLOGY, INC.,
 6   and Third Party defendants
     DEAN COMPOGINIS and
 7   SHANDONG BITTEL ELECTRONICS
     COMPANY, LTD.
 8

 9
                                    UNITED STATES DISTRICT COURT
10
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12
     BITTEL TECHNOLOGY, INC.,                 )
13   a California corporation                 )
                                              )
14                  Plaintiff,                )
             vs.                              )            Case No. C-10-00719 HRL
15                                            )
     BITTEL USA INC.,                         )            STIPULATION TO CONFIRM SETTLEMENT
16   a California corporation                 )            AND [proposed] ORDER
                                              )            ________________________
17                  Defendant                 )
                                              )
18   ________________________________________ )
                                              )
     And Related Counterclaim and Third Party )
19                                            )
     Complaint                                )
20                                            )
21
22          The parties hereto have entered into a Settlement Agreement and Mutual Release
23   (“Agreement”) as of February 7, 2011, a copy of which is attached as Exhibit 1 to the accompanying
24   [proposed] Order, which will resolve all outstanding disputes among the parties. Under the terms of

25   the Agreement, Shandong Bittel Electronics Company, Limited (“SBE”), a Chinese company with its

26   headquarters in Shandong, China, is required to wire transfer $640,000 to the client trust account of

27   Stoel Rives LLP for the benefit of defendants and third party plaintiffs Bittel USA Inc. and Lennart

28
     STIPULATION AND ORDER CONFIRMING
     SETTLEMENT
     CASE NO. C-10-00719 HRL
           Case 5:10-cv-00719-HRL Document 75 Filed 02/24/11 Page 2 of 15



 1
     Thornros. The parties have been advised that in order for SBE to make this wire transfer it must first
 2
     receive approval from the State Administration of Foreign Exchange, an administrative agency of the
 3
     People’s Republic of China. The parties have been advised that the State Administration of Foreign
 4
     Exchange requests an order from this Court confirming the settlement as a condition for approving
 5
     the wire transfer. Therefore the parties stipulate to the [proposed] Order attached hereto and
 6
     respectfully request that it be entered by this Court.
 7

 8

 9   This 21st day of February, 2010                              FARRIMOND LAW OFFICES,
                                                                  a Professional Corporation
10
11

12                                                                               /s/
                                                                  RANDALL S. FARRIMOND
13                                                                Attorneys for Plaintiff
                                                                  BITTEL TECHNOLOGY, INC,
14                                                                & Third Party defendants DEAN
15                                                                COMPOGINIS and SHANDONG
                                                                  BITTEL ELECTRONICS COMPANY,
16                                                                LTD

17   This 21st day of February, 2010                              STOEL RIVES LLP
18

19
                                                                                 /s/
20                                                                MICHAEL B. BROWN
                                                                  Attorneys for Defendant, Counter-
21                                                                Claimant and Third Party Plaintiffs
                                                                  BITTEL USA INC. AND LENNART
22
                                                                  THORNROS
23

24
25   ATTESTATION OF SIGNATURE:
26          I attest under penalty of perjury under the laws of the United States of America that I have
27   received the concurrence in the filing of this document from the listed signatory as
28
                                                        -2-
     STIPULATION AND ORDER CONFIRMING
     SETTLEMENT
     CASE NO. C-10-00719 HRL
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 1
     required by General Order No. 45 (X)(B).
 2
     Dated:
 3   February 21, 2011
                                                      /s/ Randall S. Farrimond
 4                                                    RANDALL S. FARRIMOND
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     STIPULATION AND ORDER CONFIRMING
     SETTLEMENT
     CASE NO. C-10-00719 HRL
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     Attorneys for Plaintiff
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 6   and Third Party defendants
     DEAN COMPOGINIS and
 7   SHANDONG BITTEL ELECTRONICS
     COMPANY, LTD.
 8

 9
                                UNITED STATES DISTRICT COURT
10
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12
     BITTEL TECHNOLOGY, INC.,                 )
13   a California corporation                 )
                                              )
14                  Plaintiff,                )
             vs.                              ) Case No. C-10-00719 HRL
15                                            )
     BITTEL USA INC.,                         ) [proposed] ORDER CONFIRMING
16   a California corporation                 ) SETTLEMENT_________________
                                              )
17                  Defendant                 )
                                              )
18   ________________________________________ )
                                              )
     And Related Counterclaim and Third Party )
19                                            )
     Complaint                                )
20                                            )
21
22

23                                             ORDER
24
25         PURSUANT TO THE STIPULATION AND AGREEMENT OF THE PARTIES, IT IS

26   HEREBY ORDERED that:

27         1. The Settlement Agreement and Mutual Release (“Agreement”) attached hereto as Exhibit

28
     STIPULATION AND ORDER CONFIRMING
     SETTLEMENT
     CASE NO. C-10-00719 HRL
          Case 5:10-cv-00719-HRL Document 75 Filed 02/24/11 Page 5 of 15



 1
              1 is approved by the court.
 2
           2. Pursuant to the terms of the Agreement and stipulation of the parties, Shandong Bittel
 3
              Electronics Company, Limited (“SBE”) shall pay $640,000 to the Client Trust Account of
 4
              Stoel Rives LLP, as counsel for Bittel USA, Inc. and Lennart Thornros. SBE shall make
 5
              this payment within 14 days of the date of this Order.
 6
 7

 8
              February 23, 2011
 9   DATED: _________________                   __________________________________
                                                 UNITED STATES DISTRICT COURT
10                                               HOWARD R. LLOYD
                                                 United States Magistrate Judge
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     STIPULATION AND ORDER CONFIRMING
     SETTLEMENT
     CASE NO. C-10-00719 HRL
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                    EXHIBIT 1




                                                  EXHIBIT 1
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